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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                         LD, et al.,
                                   7                                                        Case No. 20-cv-02254-YGR (JCS)
                                                        Plaintiffs,
                                   8
                                                  v.                                        ORDER RE JOINT DISCOVERY
                                   9                                                        LETTERS
                                         UNITED BEHAVIORAL HEALTH, et al.,
                                  10                                                        Re: Dkt. Nos. 364, 370
                                                        Defendants.
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                                  12
Northern District of California
 United States District Court




                                  13          Presently before the Court are the parties’ joint discovery letters addressing disputes

                                  14   related to the expert reports of Jessica Schmor (Defendants’ expert) and RPC (Plaintiffs’ expert).

                                  15   Dkt. nos. 364, 370. The Court’s rulings are set forth below.

                                  16          Untimely amendments and corrections to expert reports: Plaintiffs complain that they

                                  17   were prejudiced by the late disclosure of an amendment to Schmor’s rebuttal report, which was

                                  18   produced less than 24 hours before her deposition. They ask the Court to strike the amendment

                                  19   and any deposition testimony related to it, as a sanction. Likewise, Defendants assert that they

                                  20   were prejudiced by Plaintiffs’ production of a corrected expert report by RPC (Plaintiffs’ expert)

                                  21   two weeks after they produced the original report and approximately a month before RPC’s two

                                  22   analysts (Dr. Brian Piper and Dr. Ronald Luke) were deposed. They request that “[t]o the extent

                                  23   this Court is inclined to exclude any portion of MultiPlan’s rebuttal expert report(s) and/or

                                  24   corresponding rebuttal expert testimony, including that provided by Jessica Schmor, MultiPlan is

                                  25   entitled to the same relief as it concerns RPC’s Report and corresponding deposition testimony.”

                                  26   As the Court noted at the hearing, after each of these amended or corrected reports were served,

                                  27   the opposing party took the deposition of the experts and had the opportunity to ask questions

                                  28   about the new reports. No party was able to show any prejudice from the late disclosure.
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                                   1           For the reasons stated on the record, and as stipulated by the parties at oral argument, the

                                   2   Court DENIES the parties’ requests to strike the amendments/corrections to the expert reports and

                                   3   related testimony without prejudice to raising the issue with the district judge, who may wish to

                                   4   take a stricter approach to the parties’ failure to adhere to the Court’s deadlines.

                                   5           CMS OPSAF data: Plaintiffs contend that to the extent MultiPlan (and not counsel)

                                   6   provided a “curated” subset of OPSAF data to its expert, Jessica Schmor, they are entitled to know

                                   7   (1) what data was provided to Ms. Schmor and (2) any related analysis that was communicated by

                                   8   MultiPlan to Schmor along with the data. Defendants, in turn, assert that they are entitled to the

                                   9   OPSAF data underlying RPC’s analysis and the disclosure of the queries run by RPC in preparing

                                  10   its report.

                                  11           For the reasons stated on the record and pursuant to the stipulation of the parties at oral

                                  12   argument, the Court ORDERS as follows: 1) both sides will produce to the other side the complete
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 United States District Court




                                  13   queries (including all search terms and identification of the portion of the OPSAF database that

                                  14   was searched if the query was not run on the entire database) that were used to obtain the OPSAF

                                  15   data that was relied upon in the reports of their experts (Jessica Schmor, Dr. Brian Piper and Dr.

                                  16   Ronald Luke), including the queries that were used by MultiPlan to obtain the data that was

                                  17   supplied by MultiPlan to Ms. Schmor; 2) Ms. Schmor shall provide a declaration, sworn under

                                  18   penalty of perjury, confirming that the only communication she received from MultiPlan in

                                  19   connection with the sharing of OPSAF data was an Excel spreadsheet from Mr. Schill that

                                  20   contained the raw data, along with one additional field identifying the Metropolitan Service Area

                                  21   for the data; 3) with respect to data obtained by Plaintiffs’ experts from the CMS Outpatient

                                  22   Carrier File that was relied upon in RPC’s November 1, 2023 rebuttal expert report, Plaintiffs shall

                                  23   produce, in addition to the queries, the data that they obtained from searching this file. That data

                                  24   shall be subject to the protective order in this case as CONFIDENTIAL information. In addition,

                                  25   Defendants are ordered to treat this data in a manner that is consistent with their DUA agreement

                                  26   with CMS.

                                  27           Disclosure of individuals involved in preparation of expert reports: Each side complains

                                  28   that the other side has not provided complete information about who was involved in preparing
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                                   1   their expert reports. For the reasons stated on the record and as stipulated by the parties, the

                                   2   Court ORDERS both sides to disclose the identities of all individuals who participated in the

                                   3   preparation of the expert reports (other than counsel) by providing declarations, sworn under

                                   4   penalty of perjury, by the named testifying experts (Ms. Schmor, Dr. Piper and Dr. Luke) that list

                                   5   the individuals who participated in the preparation of their reports and provide information about

                                   6   each individual’s employment and a detailed narrative description of what each person did with

                                   7   respect to the reports. Following the production of these declarations, the parties shall meet and

                                   8   confer on whether those individuals should be deposed.

                                   9          The disclosures ordered by the Court herein shall be completed no later than November

                                  10   15, 2023.

                                  11          IT IS SO ORDERED.

                                  12
Northern District of California
 United States District Court




                                  13   Dated: November 8, 2023

                                  14                                                    ______________________________________
                                                                                        JOSEPH C. SPERO
                                  15                                                    United States Magistrate Judge
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